                 Case 2:12-cr-00409-TLN Document 31 Filed 05/08/13 Page 1 of 3



 1 SCOTT N. CAMERON (SBN 226605)
   Attorney at Law
 2 1007 7th Street, Suite 319
   Sacramento, CA 95814
 3 Ph. 916-442-5230

 4
   Attorney for:
 5 NINA NGUYEN

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-00409 TLN
12                                Plaintiff,             STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS
13   v.                                                  UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   NINA NGUYEN and
     LUAN TRAN,
15
                                  Defendants,
16

17
                                                STIPULATION
18
            Plaintiff United States of America, by and through its counsel of record, defendant NINA
19

20 NGUYEN, by and through her counsel of record, Scott N. Cameron, and LUAN TRAN, by and

21 through his counsel of record, MICHAEL BIGELOW, hereby stipulate as follows:

22          1.      By previous order, this matter was set for status on May 9, 2013, at 9:30 a.m.
23
            2.      By this stipulation, defendants now move to continue the status conference until June
24
     13, 2013, at 9:30 a.m., and to exclude time between May 9, 2013, and June 13, 2013, under Local
25
     Code T4. Plaintiff does not oppose this request.
26
            3.      The parties agree and stipulate, and request that the Court find the following:
27

28          a.      The government has produced approximately 22,093 pages of discovery to the
                                                    1
                 Case 2:12-cr-00409-TLN Document 31 Filed 05/08/13 Page 2 of 3


     defense.
 1
            b.      Respective counsel for each defendant desires additional time to review the document
 2

 3 discovery, consult with their client regarding the discovery, conduct investigation, and to discuss

 4 potential resolution with their client and the government.

 5          c.      Counsel for each defendant believes that failure to grant the above-requested
 6
     continuance would deny defendants the reasonable time necessary for effective preparation, taking
 7
     into account the exercise of due diligence.
 8
            d.      The government does not object to the continuance.
 9

10          e.      Based on the above-stated findings, the ends of justice served by continuing the case

11 as requested outweigh the interest of the public and the defendant in a trial within the original date

12 prescribed by the Speedy Trial Act.

13          f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of May 9, 2013, to June 13, 2013, inclusive,
15
     is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4] because it
16
     results from a continuance granted by the Court at defendant’s request on the basis of the Court's
17

18 finding that the ends of justice served by taking such action outweigh the best interest of the public

19 and the defendant in a speedy trial.

20

21

22

23
                    (THIS SPACE INTENTIONALLY LEFT BLANK)
24

25

26

27

28
                                                       2
                 Case 2:12-cr-00409-TLN Document 31 Filed 05/08/13 Page 3 of 3


            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
 1
     the Speedy Trial Act dictate that additional time periods are excludable from the period
 2

 3 within which a trial must commence.

 4 IT IS SO STIPULATED.

 5

 6 DATED:           May 2, 2013
 7
                                           /s/ Lee Bickley___________________
 8                                         LEE BICKLEY
                                           Assistant United States Attorney
 9

10 DATED:           May 2, 2013
11
                                           /s/ Scott Cameron
12                                         SCOTT N. CAMERON
                                           Counsel for NINA NGUYEN
13

14 DATED:           May 2, 2013
15
                                           /s/ Michael Bigelow
16                                         MICHAEL BIGELOW
                                           Counsel for LUAN TRAN
17

18

19
                                                  ORDER
20

21          IT IS SO FOUND AND ORDERED this 8th day of May, 2013.
22

23

24
                                                            Troy L. Nunley
25                                                          United States District Judge
26

27

28
                                                        3
